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EXHIBIT “A”

UNITED STATES DISTRICT COURT FOR
THE DISTRICT OF NEW HAMPSHIRE

)
Laurie Ortolano, )
Plaintiff )
)

V. ) Civil Action No. 22-cv-00326-LM
)
)
The City of Nashua, et al., )
Defendants )
)

AFFIDAVIT OF PLAINTIFF LAURIE ORTOLANO IN OPPOSITION TO
DEFENDANT KLEINER’S MOTION FOR SUMMARY JUDGMENT

I, Laurie Ortolano, being under oath, do hereby depose and say as follows:

1. After purchasing a home in Nashua, New Hampshire, the plaintiff, Laurie Ortolano
(“Ortolano”), and her husband, Michael Ortolano (collectively, “the Ortolanos”),
received a sudden increase in their real estate taxes.

2. The City’s Assessing Department (the “Assessing Department”) increased the valuation
of their home from $469,800 to $706,300 an increase of just over 50% within weeks of
purchasing the home. Complaint, § 15. A-/

3. In September 2018, the City released new updated assessment values for all city
properties. Upon reviewing the neighborhood data, my husband and I believed our
property was significantly over-assessed.

4. Neighborhood Ward meetings were scheduled with the KRT Appraisal, the contractor
hired to perform the assessing update. My husband and I met with KRT President Ken
Rodgers, who identified that he believed the property had been sales chased. I alleged this

publicly.
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5. Sales chasing is a Department of Revenue Administration (“DRA”) sanctionable
violation. Sales chasing is the practice of adjusting property values based on the recent
sale of the property rather than adjusting assessments based on all property's true market
values. When a single property assessment is changed in the direction of the sale price
and that same change is not made to other similar unsold properties, the results can lead
to unfair assessments. I believed our assessment was unfair.

6. The DRA form (PA-71) to report DRA Certified Assessor misconduct, lists "sales
chasing" as one of the misconduct charges that can be reported. In 2019 I submitted
numerous PA-71 to bring misconduct complaints against Nashua Assessors alleging sales
chasing.

7. linformed the DRA that the Assessing Office was determining property valuations based
on sales chasing. As a result of my sales chasing claim and reports of improper data
controls, the New Hampshire Board of Tax and Land Appeals ordered the City to
perform a full measure and list of all Nashua properties. 4-2 The City was ordered to
complete this in three years (2022). The DRA uses standards established by the
International Association of Assessing Officials which recommends that a full measure
and lists be done every 7 years. It was 30 years since Nashua had done a measure and list.

8. In September 2018, I started examining the Assessing Department's public records in an
effort to understand my property assessment.

9. In September 2018, I began attending and speaking at public meetings, primarily the
Board of Aldermen and Board of Assessor Meetings.

10. Sometimes, I spoke critically of Nashua officials and their practices.
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Unknown to me until the Fall of 2019, Nashua officials actively monitored my activities
and communicated with each other about my whereabouts and actions in City Hall. A-3/,
Duhamel emails

The Chief Assessor, Jon Duhamel (“Duhamel’’), took charge of the initial effort to
prevent me from viewing public documents.

In June and the Fall of 2020, The DRA and the New Hampshire Association of
Appraising Officials (*NHAAO”) sanctioned Duhamel for denying public documents to
me on at least four occasions. Complaint, § 47. 4-3

In March 2019, Kim Kleiner and City CFO John Griffin completed a Management Audit
Report that recommended that Nashua eliminate the position of Chief Assessor, thus
terminating Duhamel and placing defendant Kimberly Kleiner (“Kleiner”), who was later
promoted to Director of Administrative Services, in charge of the nine-person Assessing
Department. A-4. Management Audit Report

This reorganization left the Assessing Department without a certified assessing
supervisor, who was required by state DRA/ASB regulations to review and approve
Nashua’s assessing documents. A-5

Kleiner, an uncertified nonprofessional Assessor, was able to deprive Ortolano of the
right to access public assessing documents without any fear of professional discipline as
she was not subject to the oversight of the DRA or the NHAAO.

In early 2019, Kleiner ordered the Assessors and clerks not to answer questions from
members of the public. Exh.6 Staffing Meetings April 8, 2019. This policy order was
directed at me, although it used the term “members of the public”. The City had no such

policy until my involvement with my tax abatement.
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Kleiner ordered the clerks to refer all public assessing questions to Nashua CFO John
Griffin (“Griffin”) or her rather than to the professional assessors in the office A-6. Staff
Meeting April 1, 2019

Kleiner specifically ordered the department assessors “not speak with Ms. Ortolano”
about assessment matters. A-6, Staff Meeting April I, 2019.

Kleiner ordered that, rather than being able to inspect public documents immediately
upon request during normal business hours, as required by New Hampshire RSA 91-A:4
and Section 71 of the Nashua City Charter, Nashua residents would be required to
complete a written request and wait for five days to have any access to public documents,
in contravention of Section 71 of the Nashua City Charter. A-6 Staff Meeting April I,
2019. and A-7 | believe this new policy was directed at me.

By mid-summer 2019, Kleiner was even personally surveilling every citizen’s request to
look at Assessing Department documents; she now required document requesters to
identify themselves in writing and specify the files they wanted to inspect so Kleiner
would know who was requesting public records. A-6, Staffing Meeting July 19, 2019 This
was a new policy directed at me.

Kleiner also ordered that all email requests for information be forwarded to her prior to
providing an answer or information. Exh.6 Staff Meeting, July 19, 2019. This was a new
policy directed at me.

While testifying at trial under oath in a Right-to-Know (“RTK”) action I filed, Amanda
Mazerolle, a clerk in the Assessor’s Department, testified that, although it was her duty to
respond to citizen requests for information, she did not process my requests for records

and information that had been received through the “assesshelp” portal because Kleiner
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had specifically told her that she was not allowed to respond to Ortolano’s requests. 4-8
Trial Transcript, pg 33- 34. L16-25 L1-8
I started requesting public records under RSA 91-A, New Hampshire’s Right to Know
(“RTK”) Law.

Kleiner started referring all of my RTK requests to the Legal Department, which could
take months to respond (sometimes as much as eight months), and at the end of the long
wait would deny my requests on specious grounds. This forced Ortolano to sue the City
multiple times in the State Superior Court under the remedy provisions of the RTK Law.
In May 2020, when I received the Police records from a Police investigation of the
Assessing Office, I realized City leadership was hindering my efforts to correct my unfair
property assessment.

In his police interview, Chief of Assessing Duhamel explained, “that he had become
frustrated with Ortolano because she was in the assessing office everyday wasting their
time with questions” Duhamel said that “Ortolano was an engineer and that engineer’s
brain work differently than other people and she was unable to understand how the
process of assessing worked.” 4-9
To date, the Superior Court has ruled in favor of me on numerous issues | have raised,
despite the Defendant pointing out a recent decision. Indeed, the City has also suffered
some embarrassing defeats in these cases:

e 226-2020-cv-00133 — July 14, 2021 — Discovery sanctions - it has been
sanctioned for discovery abuse and order to pay over $8,000; and Nashua
Corporation Counsel has been chastised for advancing arguments that were

“(more than] a little over the top.” See B — July 14, 2021 Court Order in 00133
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e 226-2020-cv-00133 — May 3, 2022 Court Order - it has been chastised for its lack
of “candor” and failure to act in “good faith;” it was admonished for the
“trouble[ing length of time] it took to deny {Ortolano’s] request, especially in
light of the multiple extensions of response time .. . .”; The Superior Court
summed up: “Going forward, the Court admonishes the City to adopt a more
cooperative perspective and endeavor to respond to RTK requests more
promptly.” it has been ordered to pay Ortolano’s attorney’s fees (just over
$63,000) See C— May 3, 2022 Court Order in 00133

e 226-2021-cv-00354 — February 7, 2022, Court Order it has been ordered to
produce records stored on back-up tape and participate in “remedial training
regarding the City's compliance with Right-to-Know Law records requests;” See
D — Court Order

e 226-2021-cv-00354 — March 8, 2024 Notice of Decision — The court granted a
motion for contempt and protective order for City failing to operate in good faith
in delivering the emails won by me on appeal at the Supreme Court.

29. Nevertheless, the City appealed all three assessing records decisions to the New
Hampshire Supreme Court.

30. I have prevailed at the Supreme Court on two of these decisions, presenting as a pro se
litigant. A-10

31. On October 26, 2023, the Court ordered that Attorney Leonard, Deputy counsel for the

City of Nashua, testify as a witness, as opposed to serving as counsel of records.
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Nashua officials would falsely impugn my character in public hearings and meetings,
which made my participation in those forums quite unpleasant. A-// — September 28
2021 Board of Aldermen Meeting pg.26-28

At an August 13, 2019 Board of Alderman meeting Kleiner read a disparaging letter
regarding my husband’s and my opinions on an assessing matter. A-/2, pg 9-10

Starting in September 2019, two City officials, defendants Kleiner and Bolton, would
launch a three-year campaign to get the Nashua Police Department (“Nashua PD”) to
arrest me on false claims.

In terms of public disparagement, on numerous occasions, the Mayor and other officials
used public meetings to accuse Ortolano of being a liar and of constantly making
“scurrilous” statements in public hearings, obtained bail conditions to prevent Ortolano
from attending BOA Meetings or committee meetings without an appointment and
threatened to have Ortolano arrested while in public places in City Hall.

Ortolano was forced to file many duplicative requests to obtain public documents that
were supposed to be available for immediate inspection, and the review standards applied
to her were far more stringent than to other citizens.

The city website has an information request policy stating that Citizen requests would be
ticketed within 24 hours of submission and “Our City Staff has been trained to make sure
that all requests are sent to the proper department. Even if you do not know where to send
the request or inquiry, you can rest assured that we know.” 4-/3

City Officials demanded J find the correct department myself and send the same request

to multiple departments, inflating the number of requests I was submitting. If the City
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required additional information from me and I responded, the tracking number would be
changed to a new number.

City officials employed false numbers to publicly claim that I had purposely
overburdened the Nashua government with document requests and had cost the Nashua
taxpayers huge sums of money in administrative and litigation fees, thereby depriving the
citizens services. A-/4

In August 2019, Kleiner was on the front page of the Nashua Telegraph detailing how
much of a burden I was. A-/5

Under DRA and ASB requirements, the Assessing office is required to have a Data
Collection manual, required under Assessing Board Standards 3.3.2.3, available in the
office for public inspection. In the fall of 2019, Ms. Kleiner provided the Board of
Assessors with a newly compiled Data Collection Manual, which was absent from the
City’s assessing office preventing public inspection. 4-2

Kleiner went to the local newspaper, which ran an article on August 20, 2019, “City
Completes New Assessing Manuals.” A-/6. In the article, Kleiner contends the public has
already had a chance to give input into the manual, citing that it addresses many of the
concerns brought forth by me and others. I reviewed the manual and could not find any of
my concerns addressed in the newly released policy manual.

In August 2019, the Board of Tax and Land Appeals called the City to a hearing to
address their assessing practices. City of Nashua and DRA officials, along with myself,
presented their concerns to the BTLA. In October 2019, the BTLA issued an “Order for
Reassessment” writing:

As noted at fn.1, the board asked the City to provide a copy of its data collection
manual. The Assessor Manual and Procedures document submitted by the City,
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however, is deficient in several respects. First, this document only contains one
"Data Collection" section (Section 5) that only addresses "Commercial" property
and not residential property. Second, this document does not fulfill the
requirements stated in Section 3.3.2, including subsection 3, of the Standard on
Mass Appraisal of Real Property (referenced in the Cornell Report and fn. 2).
This section details many "essential" elements to make data collection "accurate
and consistent.” An important, preliminary step in the reassessment process in
development of a data collection manual that complies with these standards and
the City should complete this step, updating the board as prescribed below.

Exh. 2 pg. 4 of 5

I read a letter into the public record at the September 19, 2019, Board of Assessor’s
meeting, citing my concerns with important missing residential information critical to this
policy manual. 4-/7

On multiple occasions, Nashua officials and the Defendants made public comments to the
effect that Ortolano was a right-wing lunatic waging a war against the government itself.
Attorneys in the Nashua Legal Department publicly compared Ortolano’s actions to those
who attacked the Capitol Building in Washington, D.C. on January 6, 2021. 4-18 pg 20-
22 and A-19

In July 2019, the Police opened an investigation into the Nashua Assessing Office based,
in part, on information I provided the police regarding the potential criminal activity of
an assessor by falsely charging mileage for work not performed and against Kleiner for
witness tampering.

The defendants repeatedly called upon the Nashua PD to investigate me for alleged
criminal conduct.

During this investigation, Kleiner contacted the police and reported that all the employees
in the Assessing Department but one would prefer not to deal with me because I was

critical of their work and sometimes made them feel uncomfortable, 4-20
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The investigating police officer told Kleiner that this was not a crime that warranted an
investigation, but Kleiner insisted that he warn me not to communicate with any of the
employees outside the City Assessing Department. 4-20

Two police cruisers arrived at my home, with armed officers coming to my door to warn
me that “there was the potential that, if [Ortolano] did have contact with the [Assessing
Department Staff], . . . 1 could face criminal charges depending on the circumstances of
this contact". I was not home at the time and drove to the Police station to meet two
officers who issued a verbal warning. A-20

Confused by the police warning, I requested the information in writing but could not
obtain the information for four months. Police claimed that the warning was part of the
police investigation into Turgiss’ and Kleiner’s potential criminal actions.

On October 31, 2019, Kleiner called the Nashua Police and reported that I was
impersonating a City Hall Assessing employee by driving around and taking pictures of
homes. This resulted in a police investigation against me, ultimately determining that the
claim was false. See E Kleiner Deposition Testimony and A-21

Kleiner knew the description given to the City by the homeowner, did not fit my
description. Despite the erroneous description, Kleiner called the Police and indicated
that it was me. See E Kleiner Deposition Testimony, pg 80, L.2-3

On February 3, 2022, Ms. Kleiner had the police trespass me from City Hall for one day
because she claimed | yelled at an assessing staff person. This was untrue. Ms. Kleiner
argued with me and said she could have me arrested for yelling at an employee. I called
the police, concerned that Kleiner would have me arrested again. After the police spoke

with Kleiner, they ordered me to stay off of City property for 24 hours. I called the Chief

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of Police, and about 1 month later, a new report was issued that simply stated that “it was
best if she come back to City Hall on another day”. See A-22

On the morning of July 22, 2022, Kleiner called the Nashua PD, asking for a police
presence at City Hall as I had a scheduled appointment at City Hall at about 10:00 a.m.
Kleiner claimed because of “prior incidents between the members of City Hall and
Ortolano” police presence was required to “ensure that the interactions were orderly and
incident free.” A-23

The “prior incident” was a July 20, 2022 Finance Committee Meeting at which I had
criticized the City’s Director of Economic Development. Mayor Donchess interrupted my
three minutes public comment because he believed I was not permitted to criticize
employees. Frustrated, I told the Mayor to “shut his pie hole.” See 4-24

I had no such meeting scheduled, and the police eventually left City Hall.

Later on, however, Ortolano did come to City Hall and was spotted by defendant Bolton
in a public hallway near the Legal Department speaking on her cellphone. Complaint, §
130,

The police were called and Bolton insisted that the Nashua PD immediately arrest
Ortolano for trespassing in a public hallway in City Hall. Complaint, § 130-137 and 4-25
The Police investigated and found no cause for arrest. See A-25

In August 2020, Inception Technologies was contracted to scan the City’s property
records files to create a digital system for record access.

On January 21, 2022, Ortolano was told by Director Cummings in an email that if she

had an issue with the vendor, to contact the vendor directly See A-26

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In late 2021 or early 2022, Ortolano left voicemail messages for Mr. Feoli, President of
Inception Technologies, identifying herself as Laurie Ortolano of Nashua. See Feoli
Motion for Summary Judgment Document 91-1 98; (2)

I did identify myself from Nashua during the first call to Inception.

Feoli called me back, and she asked him questions about the scanning project Inception
was handling for the City of Nashua.

I spoke with Feoli on February 4, 2022 and that Ortolano again questioned him about
public access to the scanned documents. Affidavit of Laurie Ortolano, ¥ 5. Feoli provided
those answers.

On February 4, 2022, I sent an email to Richard Vincent and cc'ed Defendant Kleiner
about questions regarding the Inception data scan project. See A-27

Feoli concluded that Ortolano was representing the City because “she was calling me
from Nashua.” See F Feoli Deposition, Pg. 14 L1-10.

Feoli would later admit when pressed by the Nashua PD, I never stated to Feoli that I was
a City of Nashua employee. See F Feoli Deposition

Feoli stated that there was nothing in the Ortolano voicemail that indicated she was a city
employee or it agent. See F Feoli Deposition, pg. 14 L11-14.

In his Deposition, Feoli stated that if an employee wants access to the scanned
documents, the Nashua Representative, Kim Kleiner, would tell the company agent that
the person can have access. See F Feoli Deposition, pg. 36 L16-19

Feoli claims that he spoke by phone again with Ortolano on February 4, 2022 and that
Ortolano again questioned him about public access to the scanned documents, “at one

point stating/inquiring that Nashua citizens had been waiting for the project to be

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completed for many months and Kleiner had not provided any public updates”. See A
Affidavit of Laurie Ortolano response to Feoli Memo MSJ, 414 & 15.

On February 6, 2022, after speaking with Kleiner, Feoli addressed an email the BOA and
sent it to Kleiner, attempting to explain what had occurred with Ortolano. A-28

Right at the top — the last sentence of the short first paragraph — Feoli accused Ortolano
of committing a crime: “It has come to my attention that I have been deceived by
individual (sic), Laura (sic) Ortolano, who portrayed herself as city employee to me on
thre (sic) different occasions.” See A-28

Kleiner deliberately attended the February 8, 2022 BOA meeting to publicly defame me
by making false accusations that I had been impersonating a city employee. See A-29
pg.3-6

Prior to Kleiner reporting the matter to the Nashua Police, she did not communicate with
me to get her side of the events.

Three Aldermen voiced their concerns about the surprise issue, the public airing of it, and
the unfairness of the process. See A-29 pg 6-7, pgs. 13, 14, 17

Feoli stated that there was nothing in the Ortolano voicemail that indicated she was a city
employee or it agent. See F Feoli Deposition, pg. 14 L11-14.

In his Deposition, Feoli testified that his primary point of contact was Kim Kleiner, See F
Feoli Deposition Pg.11 L17-21.

Ortolano did not request access to the scanned documents only when they could have
access to them. See F Feoli Deposition, pg. 36 L7-10

Kleiner had not publicly discussed the inception contract completion in over a year. Yet,

without the Inception contract being on the Board of Aldermen agenda, she presented an

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update at the public BOA meeting as a pretext to disclose Feoli’s false claims set forth in

his email.

82. Rather than addressing the issue in a private session as some aldermen believed should
have occurred, Kleiner addressed it in a public session watched by residents on Local
Access Cable TV 16 and broadcast on YouTube.

83. Discussing this in public session impugned my reputation as a private citizen and violated
the Right-to-Know law.

84. The Nashua Police Department found no crime had been committed. 4-30

85. I incorporate herein my Affidavit filed in my objection to the Lombardi Motion for

Summary Judgement.

86. I incorporate herein my Affidavit filed in my objection to the Bolton and Leonard Motion

for Summary Judgement.

87. | incorporate herein my Affidavit filed in my objection to the Carignan Motion for

Summary Judgement.

88. I incorporate herein my Affidavit filed in my objection to the City of Nashua Motion for

Summary Judgement.

SIGNED UNDER THE PAINS AND PENALTIES OF PERJURY THIS 1** DAY OF

JULY 2024.
a) Lp
Dinwall PULP O

LP. E ORTOLANO

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Personally appeared, Laurie Ortolano, on July 1, 2024, and swore under oath that the

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